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UNITED STATES DISTRICT COURT LB

NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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John .l. Hurry and .lustine Hurry, as lingu¥and l 7 § U U 2 ?;SMISC

. . . Case No.
wlfe; lnvestment Services Corporat:on, an )

Arizona Corporarion, BRICFM LLC dib/a ) (D. Ariz. No. l4-cv-04420-NC)

Comer of Paradise lce Cream Store, a Califomia )
DECLARATION OF WILLIAM

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"m e 'a my mp ny ) MEAGHER IN sUPPORT oF NOTICE oF
plaintiffs § MoTIoN AND MoTIoN oF To QUASH
’ sUBPOENA
VS )
` ) Hearing Date:

Financial lndustry Regulatory Authority, lnc., Hearing Time:

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l, WILLIAM MEAGHER, declare under penalty of perjury pursuant to the laws of the

United States of America:

l. l am a reporter for The Deal Fipeh`ne, which is a financial newsjournal published by
The Deal LLC (“The Deal”). l make this declaration based on my personal knowledge and submit
this declaration, together with the exhibits annexed hereto, in support of the accompanying motion

to quash a subpoena (the “Subpoena”) that was served on me by the plaintiffs (“Plaintifi`s”) in an

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DECL, OF MEAGHER lN SUPPORT OF MOT|ON TO QUASH
Case No.
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action currently pending before the United States District Court of Arizona. Hurry v. F financial
Industry Regu!aiory Authori'ty, Case No. CV- l 4-02490-PHX-ROS (D. Ariz) (the “Arizona
Action”). l am not a party to the Arizona Action. A true and correct copy of the Subpoena is
annexed hereto as Exhibit A.

2. l live in San Rafael, California, and work out of The Deal’s offices located in
Petaluma. l have worked as ajournalist for 30 years and have spent more than five years covering
small and microcap Stock brokers for The Deal Pi`peiine. “Small” and “microcap” refers to the
relatively small market capitalization of the firms whose stock is traded. Small and microcap
stocks have traditionally presented much greater risk for investor fraud than other stocks since
there tends to be less publicly available information and professional analysis than there would be
for bigger companies Scottsdale Capital Advisors Corp. (“Scottsdale”) is a brokerage firm run by
Plaintiffs, which specializes in the trading of small and microcap stock.

3. lt is not uncommon f`or bad actors in the small and microcap industries to perpetrate
market fraud. “Pump and dump” schemes pose a particularly serious risk. In a pump and dump
scheme, the owners of cheaply purchased stock artificially inflate the stock’s price by making
false or misleading statements to investors and then sell the stock off at a profit at the expense of
any investors still holding the worthless stock. inexperienced and relatively poor investors are
often targeted and taken advantage of by the firms running these schemes. I am deeply committed
to reporting on this industry because l believe strongly that information will add transparency to
opaque markets and benefit vulnerable investors.

4. On September 13, 2013. The Deal Pi'pefi'ne published an article written by me entitled
“Finra targets a dozen offshore firms suspecting [sic] of trading in pump-and-dumps” (the
“September 13 Article"`). A true and correct copy of the September 13 Article is annexed hereto
as Exhibit B.

5. On December 6, 2013, The Deal Pi'peli'ne published an article l wrote entitled “FBI,

securities officials investigating Scottsdale Capital, Alpine Securities, source says” (the

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DECL. or MEAGHER IN suPPORT OF MOTION To QUASH

Case No,
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“December 6 Article”).l A true and correct copy of the December 6 Article is annexed hereto as
Exhibit C. in the course of researching the December 6 Artic|e, I received credible information
from confidential source(s) that Scottsdale and reported that information in the December 6
Article. l believed that information to be true when I first published it and believe it to be true
now.

6. On l\/larch 20. 2014 and April 16, 2014, The Deal Pipefi`ne published two more
articles written by me, which re-reported information from the December 6 Article (respectively,
the “March 20 Article"' and “April 16 Article',” collectively with the December 6 Article, the
“Articles”). True and correct copies of the March 20 Article and April 16 Article are annexed
hereto as Exhibits D and E.

7. On l\/lay 28, 2015, The Deal Pz`peli`ne published an article written by rne entitled
“Scottsdale Capital, its principal John Hurry are subject of Finra action over offshore trading” (the

“May 28 Article”). A true and correct copy of the May 28 Article is annexed hereto as Exhibit F.

8. All of the above-referenced articles were entirely researched, written and edited in
Califomia.
9. The Subpoena calls for me to appear for a deposition on March 1, 2017. Based on my

understanding of the Arizona Action, I believe that Plaintiffs intend to question me about the
identity of my confidential source(s). In addition, the Subpoena demands that l produce all
records of communications between myself and my sources with regards to the September 17,
December 6, March 20 and April 16 articles (the “Subpoenaed Articles”). To the extent such
documents as demanded by the Subpoena exist, they were prepared in the course of researching
and writing the Subpoenaed Articles and are as-yet unpublished ln sum, l have been informed
that the testimony and documents sought by the Subpoena are subject to statutory and
constitutional protections, which prohibit compelled disclosure

l declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed this 27th day of February, 2017 in Petaluma, California.

 

1 Alpine Securities is a Utah-based clearing finn controlled by Scottsdale that handles the sale of
stock by Scottsdale clients.
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